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Attorneys for Plaintiff = fing San Jose

31C INC.

 

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

31C INC., C Odie 2 ( , & 02 B ~

Plaintiff, COMPLAINT FOR BREACH OF. _.

CONTRACT AND INTERFERENCE =

v. WITH CONTRACTUAL
RELATIONS

 

CISCO SYSTEMS, INC.,
JURY DEMAND

Defendants.

 

 

Comes now, 3IC Inc. (31C) through its counsel and alleges upon knowledge as to itself, and
information and belief about the conduct of others, as follows:
The Parties
1 3IC Inc. (“31C”) is a corporation organized and existing under the laws of the Republic
of Korea, with its principal place of business in Sungnam, Korea.
2. Cisco Systems, Inc. (“Cisco”) is a California corporation with its principal place of
business in San Jose, California.

Jurisdiction and Venue

 

3. This is a civil action arising between 3IC, a citizen of the Republic of Korea and Cisco
a citizen of California. The amount in controversy exceeds $75,000. Thus, subject matter jurisdiction
is proper under 28 U.S.C. § 1332 (Diversity of Citizenship.) Venue is proper under 28 U.S.C. § 1391
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COMPLAINT FOR BREACH OF CONTRACT AND INTERFERENCE WITH CONTRACTUAL RELATIONS
CASE NO.

   

 
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since the defendant Cisco resides in the judicial district in which the action is brought.

FIRST CAUSE OF ACTION
(Breach of Contract for Interoperability Testing at SK Telecom)

4. 3IC alleges and incorporates herein by reference each and every allegation contained in
Paragraphs 1 through 4 above.

5. Plaintiff 3IC and defendant Cisco entered into a contract entitled “Agreement for
Interoperability Testing for Cisco Systems at SK Telecom” with an effective date of April 28, 2000.
Pursuant to the contract, 3IC was to provide testing services and Cisco was to pay for those testing
services. The testing performed by 3IC examined the interoperability of Cisco’s products with those
of a third party SK Telecom (“SKT”).

6. SKT provided the testing procedures to 3IC. Cisco and SKT provided the products
being tested for interoperability. 31C’s involvement was limited to testing of the products according to
the testing procedures provided by SKT.

7. The tests were originally scheduled to be satisfactorily completed by September 30,
2000. The products did not interoperate properly and, therefore, through no fault of 31C the tests were
not completed satisfactorily by that date. 31C continued to perform the testing procedures from
October 1, 2000 through January 31, 2001. Cisco and SKT were fully aware and approved of the
continued testing by 3IC.

8. Under the contract, Cisco was to pay 3IC for the testing at a weekly rate of $55,614.58.
Cisco made no payment for the testing performed by 3IC after October 8, 2000. .

9. Cisco breached the contract by failing to make the required payments. 3IC has
performed all of its obligations under the agreement except for those that were excused by Cisco’s
breach.

10. Accordingly, Cisco caused damage to 3IC in an amount to be proven at trial but not
less than the weekly rate for 16.5 weeks of testing from October 9, 2000 to January 31, 2001 totaling
$917,640.57.

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COMPLAINT FOR BREACH OF CONTRACT AND INTERFERENCE WITH CONTRACTUAL RELATIONS
CASE NO. |

 
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SECOND CAUSE OF ACTION

 

(Breach of Contract for “Systems Integration Agreement”)

11.  31C alleges and incorporates herein by reference each and every allegation contained in
Paragraphs 1 through 10 above.

12. 3IC and Cisco entered into a contract entitled “Systems Integration Agreement”
whereby 3IC purchased hardware and licensed software (“the Products”) from Cisco. 3IC’s purchase
price including among other things financing costs, customs and transportation was $370,846.

13. 3IC resold the Products to SK C&C, one of its largest customers, for $487,670 for
installation at SKT. 3IC also entered into a service contract in connection with the Products to SK
C&C for $82,055. 3IC completed all work to be performed under the service contract.

14. Through no fault of 3IC, the Products did not operate satisfactorily at SKT. Cisco
attempted, but was unable to make the Products work satisfactorily.

15, Cisco contacted SK C&C directly and sold it a different Cisco product. Accordingly,
SK C&C demanded that 3IC tear out the Products for a full refund of its purchase price plus the cost
of the service contract. The cost to remove the equipment from SKT is expected to be $2,175.90.

16. The contract allows the prevailing party of any suit relating to the contract to collect
attorneys’ fees and costs from the other party.

17. Cisco breached the contract by delivering hardware and software that did not operate
properly. 3IC has performed all of its obligations under the agreement except for those that were
excused by Cisco’s breach.

18. Accordingly, Cisco caused damage to 3IC in an amount to be proven at trial but not
less than its costs and expenses in purchasing the Products from Cisco of $370,846, the refunded cost
of the service contract of $82,055, its costs in removing the equipment from SKC&C of $2,175.90 and
its attorneys fees and costs for the present action.

THIRD CAUSE OF ACTION

 

(Interference with Contractual Relations)
19.  3IC alleges and incorporates herein by reference each and every allegation contained in
Paragraphs 1 through 18 above.
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COMPLAINT FOR BREACH OF CONTRACT AND INTERFERENCE WITH CONTRACTUAL RELATIONS
CASE NO.
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20. 3IC entered into a contract with SK C&C for the sale of the Products to SK C&C.
Under the contract, 3IC was to deliver the Products to SK C&C and SK C&C was to pay for the
Products.

21. Cisco had knowledge of the contract between 3IC and SK C&C by virtue of working
with 3IC and SK C&C to install the Products and to attempt to make the Products work at SK C&C.

22. Cisco intentionally acted to disrupt that contract agreement by failing to make the
product it sold to 3IC work satisfactorily and instead selling a different Cisco product directly to SK
C&C.

23. As aresult of Cisco’s intentional acts, 3IC was unable to fulfill its obligations of
delivering the Products in satisfactory working condition. Accordingly SK C&C demanded that 31C
remove the Products and refund its payments.

24. Accordingly, 3IC was damaged at an amount to be proven at trial for the lost benefits
of its contract and associated expenses.

PRAYER

WHEREFORE, Plaintiff 31C Inc. prays for relief as follows:

1. For compensatory, consequential and punitive damages in an amount to be proven at

the time of trial, plus interest thereon;

2. For costs of suit and attorneys’ fees as provided by law; and
3. For such other and further relief as this Court deems just and proper.
DATED: August 2¥%r001 Respectfully submitted,

TOWNSEND AND TOWNSEND AND CREW LLP

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Attorneys for Plaintiff
3IC INC.

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CASE NO. :

 
